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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                        Civil Case Number: 8:17-cv-00109-CEH-TBM

                                                 :
James Thompson,                                  :
                                                 :
                      Plaintiff,                 :
       v.                                        :
                                                 :
Total Card, Inc.; and DOES 1-10, inclusive,      :
                                                 :
                                                 :
                      Defendants.                :
                                                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The parties anticipate filing a Stipulation of Dismissal with Prejudice pursuant to

Fed. R. Civ. P. 41(a) within 60 days.


Dated: May 10, 2017

                                                     Respectfully submitted,

                                                       By    /s/ Stan M. Maslona

                                                       Stan M. Maslona, Esq.
                                                       Florida Bar No. 86128
                                                       Lemberg Law, LLC
                                                       43 Danbury Road, 3rd Floor
                                                       Wilton, CT 06897
                                                       Telephone: (203) 653-2250
                                                       Facsimile: (203) 653-3424
                                                       smaslona@lemberglaw.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2017, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court for the Middle District of Florida
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Stan M. Maslona_________

                                                     Stan M. Maslona, Esq.
